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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

In re:
                                                               Chapter 7
                      1
UBIOME, INC.,
                                                               Case No. 19-11938 (LSS)
                                       Debtor.

                                         CERTIFICATE OF SERVICE

                     I, Peter J. Keane, hereby certify that on the 7th day of December, 2020, I caused a
copy of the following to be served on the attached service list in the manner indicated.


                    Notice of Sale of Certain De Minimis Assets (Trademarks, Domains, and SNS
                     Accounts)



Dated: December 7, 2020                             PACHULSKI STANG ZIEHL & JONES LLP


                                                     /s/ Peter J. Keane
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1
    The Debtor and the last four digits of its taxpayer identification number is: uBiome, Inc. (0019).


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uBiome Inc. – Supplemental Service List
Doc #226967
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uBiome 2002 Service List Expedited               OVERNIGHT DELIVERY AND EMAIL
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07 – Overnight Delivery                          Civil Division
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